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 7                             UNITED STATES DISTRICT COURT
 8                           SOUTHERN DISTRICT OF CALIFORNIA
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10   FEDERAL NATIONAL MORTGAGE                             Case No.: 21-CV-615-CAB-JLB
     ASSOCIATION,
11
                                          Plaintiff,       ORDER GRANTING JOINT
12                                                         MOTION TO STAY
     v.
13
     GULF HARBOUR INVESTMENTS                              [Doc. No. 17]
14
     CORPORATION et al.,
15                                     Defendants.
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17         Upon consideration of the parties’ stipulation and joint motion to stay proceedings
18   for sixty days, and good cause appearing, it is hereby ORDERED that the motion is
19   GRANTED. This case is STAYED until October 12, 2021. On or before October 12,
20   2021, the parties shall file either a joint motion to dismiss, or a status update concerning
21   their efforts to resolve their disputes.
22         It is SO ORDERED.
23   Dated: August 12, 2021
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